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                              UNITED STATES DISTRICT COURT

                            WESTERN DISTRICT OF LOUISIANA

                             LAFAYETTE-OPELOUSAS DIVISION

 UNITED STATES OF AMERICA                                  *        CRIM. NO. 06-60074-01

 VERSUS                                                    *        JUDGE DOHERTY

 ERIC JOSEPH ALEXANDER                                     *        MAGISTRATE JUDGE HILL

                      RULING ON MOTION TO STRIKE SURPLUSAGE

         The defendant, Eric Joseph Alexander (Alexander), has filed a motion to strike

 surplusage from the indictment. [Record Doc. 105]. The government has opposed the

 defendant’s motion. [Record Doc. 112]. For those reasons set out below, the defendant’s

 motion is denied.

 THE INDICTMENT 1

         The indictment charges the defendant, Eric Joseph Alexander, with multiple

 crimes including conspiracy to possess with the intent to distribute various drugs,

 possession with intent to distribute marijuana, cocaine and cocaine base (crack), unlawful

 use of a communication facility, carrying a firearm during, and in relation to, a drug

 trafficking crime, money laundering, engaging in a continuing criminal enterprise (CCE),

 engaging in monetary transactions in property derived from unlawful activity, and

 forfeiture of various assets allegedly belonging to, or in the control of, Alexander.




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          All references to the “indictment” herein, unless specifically noted to the contrary, refer to the
 superseding indictment returned November 14, 2007. [Record Doc. 235].
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        Count one of the indictment (the conspiracy count) alleges that Alexander, along

 with others, engaged in a far-reaching drug conspiracy, from early January 2002 to

 October 2006, to possess with intent to distribute cocaine, cocaine base (crack) and

 marijuana. As is often the case with these types of conspiracy indictments, the

 government sets out, in count one, the object of the conspiracy, the ways and means of

 accomplishing the conspiracy and various overt acts done in furtherance of the

 conspiracy. The indictment alleges that this conspiracy violates the provisions of 21

 U.S.C. § § 846 and 841(b)(1)(A).

 THE MOTION TO STRIKE

        The defendant moves the court to strike, pursuant Rule 7(d), Fed. R. Crim. P., the

 language in the conspiracy count under the headings “Object of the Conspiracy”, “Ways

 and Means of Accomplishing the Conspiracy” and “Overt Acts”, on the grounds that this

 language is “not essential to the charge and is highly prejudicial.” [Record Doc. 105, page

 1].

        The defendant notes that Rule 7(c)(1), Fed. R. Crim. P., requires that the

 indictment be a “plain, concise, and a definite written statement of the essential facts

 constituting the offense charged . . . .” The defendant argues that the language appearing

 under the three headings of the indictment set out above are not “essential facts

 constituting the offense charged”, and therefore should be stricken.




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        The defendant particularly complains of language appearing in the conspiracy

 count concerning an “illegal scheme”, language charging that the defendant “smuggled,

 transported, and distributed” cocaine, and language that charges that “various handguns

 were procured by the defendants so that members of the drug conspiracy could protect

 themselves, their illicit merchandise, and the proceeds of the drug sales . . . .” [Record

 Doc. 105, pages 2-3]. Finally, the defendant moves to strike all of the overt acts because,

 under the drug conspiracy statute (21 U.S.C. § 846), no proof of an overt act in

 furtherance of the conspiracy is necessary in order to convict the defendant.

        Essentially, the defendant argues that the government is not required to prove any

 of the factual allegations made in these parts of count one, and that if the government fails

 to prove any of these allegations, the jury will nevertheless have heard the allegations, to

 the defendant’s prejudice. In that regard, the defendant argues that the government “gets

 to make the allegations but is not required to prove them.” [Record Doc. 105, page 6].

        In opposition, the government argues that before surplusage can be stricken from

 the indictment, the language must be “irrelevant, inflammatory, and prejudicial”. The

 government relies on the Fifth Circuit opinion in United States v. Graves, 5 F.3d 1546,

 1550 (5 th Cir. 1993) which, in turn, relied on United States v. Bullock, 451 F.2d 884, 888

 (5 th Cir. 1971). The government further argues that where information in the indictment

 is relevant to the offense charged, the court should not strike it no matter how prejudicial

 it may be. Finally, the government argues that the mere fact that the indictment contains



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 language in addition to the elements of the offense charged, does not require that the

 additional language be stricken. In support of its arguments, the government relies on

 United States v. Scarpa, 913 F.2d 993, 1013 (2d Cir. 1990) and United States v. Edwards,

 72 F. Supp.2d 664, 667 (M.D., La. 1999).

 LAW AND ANALYSIS

        In United States v. Prejean, 429 F. Supp.2d 782 (E.D. La., 2006) Judge Fallon

 recently summarized the law in this area in the following terms:

                Generally, allegations in an indictment that are unnecessary to prove the
                crime charged are surplusage. United States v. Miller, 471 U.S. 130, 136-
                37, 105 S.Ct. 1811, 85 L.Ed.2d 99 (1985). A district court retains discretion
                to strike surplusage from an indictment upon motion of the defendant under
                Rule 7(d) of the Federal Rules of Criminal Procedure. However, the striking
                of surplusage is not required: “surplusage in an indictment may generally be
                disregarded where the charge is not materially broadened and the accused is
                not misled.” United States v. Trice, 823 F.2d 80, 89 n. 8 (5th Cir.1987)
                (citations omitted). The level of proof required to strike surplusage from an
                indictment is “exacting.” United States v. Bullock, 451 F.2d 884, 888 (5th
                Cir.1971).
                A district court may strike language as surplusage on the ground that such
                material is unduly prejudicial if the language “serve[s] only to inflame the
                jury, confuse[s] the issues, and blur[s] the elements necessary for
                conviction[.]” Id. Moreover, a court may strike as surplusage any “[i]ndirect
                expressions, implied allegations, argumentative statements, and uncertainty
                due to generalizations in language[.]” United States v. Williams, 203 F.2d
                572, 574 (5th Cir.1953).


 At page 796.




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        Furthermore, surplusage should only be stricken from the indictment if it is

 “irrelevant, inflammatory and prejudicial.” Bullock, supra. While the court may strike

 language that is irrelevant, inflammatory and prejudicial, the converse is also true, that is,

 if the allegation is admissible and relevant to the charge, then regardless of how

 prejudicial, the court should not strike the language. Edwards, 702 F. Supp.2d at 667.

 The mere fact that information in an indictment does not constitute an element of the

 charged offense does not require that it be stricken. Id.2

        Language in an indictment which is relevant to the identity of the defendant

 charged or is relevant to prove motive should not be stricken as surplusage. Graves, 5

 F.3d at 1550. Language in the indictment that is relevant to the offense charged and

 describes how the defendant was to accomplish the conspiracy, should not be stricken as

 surplusage. United States v. Palazzo, 2007 WL 3124697, 10 (E.D. La., 2007).

        While the defendant is correct that Rule 7(c)(1) requires that the indictment

 contain the essential facts constituting the offense, that does not mean that all other

 language should be stricken from the indictment. Even if the language which the

 defendant complains of here is characterized as surplusage, it is only that surplusage

 which is “irrelevant, inflammatory, and prejudicial” which must be stricken. The above

 cases make it clear that this test should be read in the conjunctive; language which is



        2
         This language was cited approvingly by the Fifth Circuit in United States v. Solomon, 2001 WL
 1131955, 1 (5th Cir. 2001) (unpublished).

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 inflammatory and prejudicial, but which is nevertheless relevant and admissible, should

 not be stricken. Graves, Palazzo and Edwards.

        The language in this indictment which the defendant seeks to strike is not

 “irrelevant, inflammatory and prejudicial.” It is certainly true that much of this language

 is prejudicial; since the defendant is accused of involvement in a large scale and a long-

 continuing drug conspiracy, it is to be expected that the charging language would be

 prejudicial. Prejudice alone is not the test, however. It is clear that the language which

 the defendant seeks to strike sets out for the jury the way in which the government

 contends that this conspiracy was to operate and what goals the conspiracy sought to

 accomplish. The listed overt acts, while not required to be proved for a conviction under

 § 846, nevertheless set out factual allegations regarding the way in which the conspiracy

 actually worked. Clearly, the government is entitled to prove, if it can, each and every

 one of these overt acts. Similarly, the government is entitled to prove what it believes to

 be the objectives of the conspiracy, and the ways in which the individual defendants

 attempted to accomplish the objectives of the conspiracy. What this indictment does is to

 inform the defendants of what the government intends to prove.

        In short, each of these allegations is relevant to the conspiracy charge. Since the

 subject language is relevant, it should not be stricken (no matter how prejudicial) so long

 as the language does not materially broaden the charged offenses, does not mislead the

 defendant and does not confuse the issues or blur the elements necessary to convict. The

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 language complained of here by the defendant, Alexander, does not cross that line.

         It is certainly true that some of the language found in count one is conclusory, but

 not unreasonably so. It is also certainly true that some of the language found in count one

 is inflammatory; large-scale drug conspiracies can, and do, have inflammatory facts and

 engender inflammatory argument. So long as those facts are relevant and the argument is

 within the scope of the evidence, the language need not be stricken.

         The defendant complains that some of the evidence referred to in the indictment

 may not be admissible at trial. If so, the problem can be avoided by simply summarizing

 the indictment for the jury (rather than reading the entire indictment to the jury) at the

 beginning of the trial. In that way, if evidence referred to in the indictment is held not to

 be admissible, those portions of the indictment relating to that evidence can be stricken on

 a timely motion by the defendant prior to the time that the indictment is sent to the jury

 for use in its deliberations.3




         3
           The best argument made by the defendant is the argument made to strike the language in those
 sections of the conspiracy count referring to smuggling and the procurement of handguns by members of
 the conspiracy. The indictment does not charge the defendants with smuggling. This language does
 seem to broaden the charges in the indictment. However, this evidence may well be admissible under
 Rule 404(b), Federal Rules of Evidence. If so, this language should not be stricken.

         Additionally, the indictment charges the defendant Alexander with carrying a firearm in relation
 to a drug trafficking crime (count 11), and also charges the defendant Delago with that offense (count
 13). Clearly the evidence relating to those two counts is admissible. If the government offers proof that
 other defendants also used firearms in furtherance of this conspiracy, so long as that evidence is
 admissible under Rule 404(b), the language should not be stricken.

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       For the above reasons, the motion to strike surplusage filed by the defendant, Eric

 Joseph Alexander, is denied.

       May 18, 2008, Lafayette, Louisiana.




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